

Matter of Rogove (2025 NY Slip Op 02391)





Matter of Rogove


2025 NY Slip Op 02391


Decided on April 24, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 24, 2025

PM-103-25
[*1]In the Matter of Adrienne Cohen Rogove, an Attorney. (Attorney Registration No. 2688489.)

Calendar Date:April 21, 2025e

Before:Garry, P.J., Pritzker, Reynolds Fitzgerald, Ceresia and Mackey, JJ.

Adrienne Cohen Rogove, Somerset, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Adrienne Cohen Rogove was admitted to practice by this Court in 1995 and lists a business address in Somerset, New Jersey with the Office of Court Administration. Rogove now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Rogove's application.
Upon reading Rogove's affidavit sworn to March 17, 2025 and filed March 21, 2025, and upon reading the April 15, 2025 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Rogove is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Pritzker, Reynolds Fitzgerald, Ceresia and Mackey, JJ., concur.
ORDERED that Adrienne Cohen Rogove's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Adrienne Cohen Rogove's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Adrienne Cohen Rogove is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Rogove is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Adrienne Cohen Rogove shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








